Case 18-58406-sms       Doc 240    Filed 07/27/21 Entered 07/27/21 16:12:45            Desc Main
                                  Document      Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                       :      CHAPTER 7
                                             :
AMERICAN UNDERWRITING                        :      CASE NO. 18-58406-SMS
SERVICES, LLC,                               :
                                             :
         Debtor.                             :

                       NOTICE OF ABANDONMENT OF CERTAIN
                            PROPERTY OF THE ESTATE

         PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 554(a) and Federal Rule of
 Bankruptcy Procedure 6007, S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the above-
 captioned estate, proposes to abandon the below listed property as burdensome, fully exempt
 with no equity, fully encumbered and/or of inconsequential value and benefit to Debtor’s estate.
 To the extent the documents and computer equipment is not claimed by the owners of the
 Debtor, the Trustee will have them securely destroyed or will store them as required by law.
                      Documents
                      Agent Returns 2015 and older
                      AUS Payables 2008-2015
                      Old Accounting Documents
                      Miscellaneous Accounting 2008-2011
                      Summer’s Office Contents/Old Policy Cancellations
                      Employee Files Including Insurance Licenses
                      Local Agent Files- Agent Information
                      Miscellaneous Office and Vendor Invoices
                      Company Receivables and Invoices
                      Payments receipts for insurance premiums

                      Computer Equipment1
                      14 Dell Office Computers
                      Server
                      Network attached storage
                      Backup drive
          1
            To the extent the computer equipment is not claimed by the owners of the
          Debtor, the Trustee will have the computer equipment securely destroyed as
          it may contain sensitive data and will not be release to any other party.
Case 18-58406-sms       Doc 240     Filed 07/27/21 Entered 07/27/21 16:12:45            Desc Main
                                   Document      Page 2 of 2



       PLEASE TAKE FURTHER NOTICE that any objections to this proposed
abandonment must be filed with the Clerk of the United States Bankruptcy Court, 1340 U.S.
Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303 and served upon the Trustee at the
address shown below within fourteen (14) days from the date of service of this Notice. If no
objection is filed, the proposed abandonment shall be effective as provided in Federal Rule of
Bankruptcy Procedure 6007 without further notice, hearing or order of the Court. If an objection
is timely filed, a hearing thereon will be scheduled with notice provided to the objecting party or
parties, the Trustee, the U.S. Trustee, and the Debtor.

       This 27th day of July, 2021.

                                                      /s/ S. Gregory Hays
                                                      S. Gregory Hays
Hays Financial Consulting, LLC                        Chapter 7 Trustee
2964 Peachtree Road, NW, Ste 555
Atlanta, GA 30305
(404) 926-0060
